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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JESREY

      UNITED STATES OF /\MERICA.                                     Hon. Cathy L. Waldor

     VS.                                                           Mag. No. 18-7094 (CL W)

     STEVEN BRADLEY MELL                                 CONSENT ORDER EXTENDING TIME
     a/k/a BRADLEY MELL                                        TO PERFECT LIEN



           This matter having come before the Court by the defendant Steven Bradley Meil (by

    David J. Bruno, Esq. of the Bianchi Law Group, LLC) and with the consent of Craig Carpenito,

    United States Attorney for the District of New Jersey (by Danielle Alfonzo Waisman, Assistant

    United States Attorney) for an order amending one single condition in the Court's June 19, 2018

    order setting conditions of release which requires Defendant's counsel to perfect lien within 1

    week of the signing of the .June 19, 2018 order, to allow time to get Mrs. Diane Mell's South

    Carolina counsel a certified copy with a raised seal of the agreement to forfeit property for filing,

    and for good and sufficient cause shown;

           IT IS on this ___ day of __________, 2018;

            ORDERED that the Defendant shall have until .June 28, 2018 to perfect the lien as

    previously required by the Court"s June 19, 2019 order setting conditions of release.




                                                            HONORABLE CA THY L. W ALDOR




    Counsel for Defendant Steven Bradley Mell
